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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                     Case Number: 10-61799-CIV-MARTINEZ-MCALILEY

 ROBERT LICARI,

        Plaintiff,

 vs.

 ENHANCED RECOVERY COMPANY, LLC,

       Defendant.
 _____________________________________/

                 FINAL ORDER OF DISMISSAL WITH PREJUDICE AND
                 ORDER DENYING ALL PENDING MOTIONS AS MOOT

        THIS MATTER is before the Court upon Plaintiff's Notice of Voluntary Dismissal With

 Prejudice (D.E. No. 6). It is:

        ADJUDGED that this action is DISMISSED with prejudice. It is also:

        ADJUDGED that all pending motions in this case are DENIED AS MOOT, and this

 case is CLOSED.

        DONE AND ORDERED in Chambers at Miami, Florida, this 29 day of April, 2011.


                                                  ___________________________________
                                                  JOSE E. MARTINEZ
                                                  UNITED STATES DISTRICT JUDGE

 Copies provided to:
 Magistrate Judge McAliley
 All Counsel of Record
